Case 8:05-cr-00207-RAL-MAP Document 148 Filed 10/28/05 Page 1 of 6 PageID 275
Case 8:05-cr-00207-RAL-MAP Document 148 Filed 10/28/05 Page 2 of 6 PageID 276
Case 8:05-cr-00207-RAL-MAP Document 148 Filed 10/28/05 Page 3 of 6 PageID 277
Case 8:05-cr-00207-RAL-MAP Document 148 Filed 10/28/05 Page 4 of 6 PageID 278
Case 8:05-cr-00207-RAL-MAP Document 148 Filed 10/28/05 Page 5 of 6 PageID 279
Case 8:05-cr-00207-RAL-MAP Document 148 Filed 10/28/05 Page 6 of 6 PageID 280
